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16
                                   UNITED STATES DISTRICT COURT
17
                                CENTRAL DISTRICT OF CALIFORNIA
18

19     IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
20
       LEAGUE’S “SUNDAY TICKET”                        NFL DEFENDANTS’ MOTION IN
       ANTITRUST LITIGATION                            LIMINE NO. 5 TO EXCLUDE
21     ______________________________                  CERTAIN OPINIONS OF DANIEL
                                                       A. RASCHER
22
       THIS DOCUMENT RELATES TO:                       Judge: Hon. Philip S. Gutierrez
23                                                     Date: February 7, 2024
       ALL ACTIONS
24                                                     Time: 2:30 p.m.
                                                       Courtroom: First Street Courthouse
25
                                                                  350 West 1st Street
26                                                                Courtroom 6A
                                                                  Los Angeles, CA 90012
27

28
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                                                                  ii
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 1           The NFL Defendants respectfully move this Court in limine to exclude
 2   certain testimony of Plaintiffs’ primary expert economist, Daniel A. Rascher. At the
 3   class certification phase, Defendants explained why the fundamental errors in Dr.
 4   Rascher’s approach warrant exclusion. Defendants respectfully submit that those
 5   errors warrant reevaluation in light of the recent amendments to Rule 702 and the
 6   need to protect the jury from inadmissible evidence. See In re Lithium Ion Batteries
 7   Antitrust Litig., 2017 WL 1391491, at *6 (N.D. Cal. Apr. 12, 2017) (“[A]t the class
 8   certification stage, the Court does not make an ultimate determination of the
 9   admissibility of an expert’s report for purposes of a dispositive motion or trial.”).
10   And at a minimum, Defendants seek to preserve their arguments as applied to Dr.
11   Rascher’s merits opinions.
12           Dr. Rascher fails to reliably apply a viable methodology to reach (i) his
13   opinions about the but-for world absent the challenged horizontal conduct, (ii) his
14   opinions about damages, and (iii) his opinions about the commercial class. His
15   testimony on these issues is thus inadmissible. See Fed. R. Evid. 103, 104, 702.
16                                       LEGAL STANDARD
17           Under the recently amended Rule 702, an expert witness “may testify in the
18   form of an opinion or otherwise if the proponent demonstrates to the court that it is
19   more likely than not that”—among other requirements—“the expert’s opinion
20   reflects a reliable application of the principles and methods to the facts of the
21   case.” Fed. R. Evid. 702 (emphasis added). The amendments overrule previous
22   “incorrect application[s] of Rules 702 and 104(a)” by “many courts [that] have held
23   that the critical questions of the sufficiency of an expert’s basis, and the application
24   of the expert’s methodology, are questions of weight and not admissibility.” Fed. R.
25   Evid. 702 Advisory Committee’s Note to the 2023 amendment.
26

27

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                                                  1
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                                            ARGUMENT
 1

 2    I.       Dr. Rasher Has Not Reliably Applied A Viable Methodology To Model
               The But-For World Absent The Challenged Horizontal Conduct.
 3
             Dr. Rascher’s analysis of the but-for world in the absence of the challenged
 4
     agreements among the NFL and its member Clubs (the “horizontal” conduct) rests
 5
     on a purported application of the “yardstick” methodology. Dr. Rascher performs
 6
     no quantitative economic modeling and, instead, relies entirely on a qualitative
 7
     analogy to the way a subset of college football telecasts are distributed. See
 8
     generally ECF No. 962-4, Expert Report of Daniel A. Rascher, dated February 17,
 9
     2023 (“Rep.”) ¶¶ 294–420; ECF No. 962-5, Expert Reply Report of Daniel A.
10
     Rascher, dated June 9, 2023 (“Reply Rep.”) ¶¶ 409–44.
11
             Because some games played by top college teams are telecast on broadcast
12
     television or on networks available with a basic cable subscription, Dr. Rascher
13
     opines that                                                                         if the challenged
14
     horizontal agreements were removed. ECF No. 962-4, Rep. ¶¶ 367–72. Based on
15
     that opinion, Dr. Rascher asserts that
16
        —i.e., that access to telecasts that are equivalent to the Sunday Ticket product
17
     would be                                 . Id. ¶¶ 320, 377. But relying on a
18
                                                                                                  fails to
19
     reflect “a reliable application of the principles and methods to the facts of the case.”
20
     Fed. R. Evid. 702.
21

22           A.        Dr. Rascher has not identified a reliable benchmark for what
                       would occur in a but-for world without joint telecast licensing.
23
             While use of a yardstick to estimate antitrust damages can be a viable
24
     methodology in some contexts, Plaintiffs bear the burden to prove that Dr.
25
     Rascher’s analysis “reflects a reliable application of the principles and methods to
26
     the facts of the case.” Fed. R. Evid. 702; see also, e.g., In re Live Concert Antitrust
27
     Litig., 863 F. Supp. 2d 966, 975–76 (C.D. Cal. 2012). Dr. Rascher’s yardstick fails
28

                                                    2
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 1   this test.
 2            To be admissible, a yardstick must “compare[] the outcome of interest in the
 3   affected market to the same outcome in an unaffected benchmark market.” In re
 4   Nat’l Football League’s Sunday Ticket Antitrust Litig., 2023 WL 1813530, at *8
 5   n.3 (C.D. Cal. Feb. 7, 2023). Because the “outcome of interest” here is a world
 6   without joint telecast licensing at the league level, Dr. Rascher must compare the
 7   NFL to a yardstick market in which telecasting rights are not licensed at the league
 8   level. College football cannot serve as this yardstick because college football teams
 9   do license their telecast rights at the league level.
10            Dr. Rascher confirms that, in college football, each “conference” is in fact a
11   sports league. ECF No. 962-4, Rep. ¶ 37 n.16; see also ECF No. 962-10, Expert
12   Report of B. Douglas Bernheim (“Bernheim Rep.”) ¶¶ 267–68. Dr. Rascher also
13   confirms that the college conferences collectively license the game telecasting
14   rights for their respective teams. See ECF No. 962-5, Reply Rep. ¶ 420; ECF No.
15   962-4, Rep. ¶ 162; Pastan Decl. Ex. 4, Rascher 6/28/23 Dep. Tr. 146:3–9. Those
16   facts are dispositive and fatal to Dr. Rascher’s yardstick methodology. Analyzing
17   college conferences cannot explain what would happen in a world where leagues do
18   not license telecasting rights jointly because college football conferences do license
19   their telecast rights jointly.
20            Both of the college football leagues at the heart of Dr. Rascher’s yardstick—
21   the SEC and the Big Ten—illustrate this point. As Dr. Rascher concedes, both
22   conferences jointly license the broadcast rights for the games within those
23   conferences, see ECF No. 962-4, Rep. ¶ 324, and Big Ten commissioner Kevin
24   Warren                                                                                         ,” id.
25   ¶ 332.
26            Confronted with this fatal flaw, see ECF No. 962-10, Bernheim Rep. ¶¶ 261–
27   72, Dr. Rascher conceded that the real-world conduct of college football
28   conferences is analogous “
                                                   3
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 1                                                   ,” ECF No. 962-5, Reply Rep. ¶ 423
 2   (emphasis in original). Dr. Rascher therefore
 3

 4

 5           Dr. Rascher’s citations to the practices of other major sports leagues likewise
 6   provide no support for his asserted but-for world. Dr. Rascher
 7                                                              ,” but he nevertheless argues that
 8   these leagues demonstrate the “
 9                                                   ECF No. 962-5, Reply Rep. ¶ 434. Even if
10   that were correct (and it is not, see ECF No. 962-10, Bernheim Rep. ¶ 273), any
11                                                               could not support the conclusion that
12                                                                                                                 ,
13   since in neither of those leagues are out-of-market games broadcast through
14                , see id. ¶¶ 102–03, 115.
15           In sum, Dr. Rascher is unable to identify any benchmark to support his
16   opinion
17                                                       . This renders his opinions regarding the
18   but-for world absent the challenged horizontal conduct inadmissible under Rule
19   702.
20
             B.        Dr. Rascher’s but-for world assumes legally impermissible
21                     outcomes.
22           Dr. Rascher’s testimony that the
23                                       also must be excluded because it is premised on a legally
24   impossible outcome. See, e.g., Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523
25   F.3d 1051, 1063 (9th Cir. 2008) (“[A] party is not entitled to present evidence on an
26   erroneous or inapplicable legal theory to the jury, even if the evidence might have
27   been relevant in some conceivable manner.”); Apple, Inc. v. Samsung Elecs. Co.,
28   Ltd., 2012 WL 2571332, at *7 (N.D. Cal. June 30, 2012) (excluding expert
                                                          4
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 1   testimony that was “contrary to law, and therefore w[ould] not assist the trier of
 2   fact”).
 3             Dr. Rascher opines that in a but-for world
 4

 5

 6                                                                      . See, e.g., ECF No. 962-4,
 7   Rep. ¶¶ 367 (assuming in at least one but-for world that “
 8                                                                        ), 374 (noting that in another
 9   but-for world,
10                ). But the law does not permit                                                                 , for
11   multiple reasons.
12             First, as both Plaintiffs and Dr. Rascher concede, individual NFL Clubs do
13   not own the unilateral rights to any game telecast because “both the home and
14   visiting teams would have to give ‘consent’ to telecast a game between those two
15   teams.” ECF No. 986-2, NFL Defs.’ Resp. to Pls.’ Stmt. of Genuine Disputes
16   (“SUF”) ¶ 22.
17             Second, and as Plaintiffs also have admitted, game telecasts display the
18   intellectual property of both competing teams and the NFL itself (such as the NFL
19   shield and game highlights), which means that
20

21                                       . Id. ¶ 17; ECF No. 962-10, Bernheim Rep. ¶ 39.
22             In these ways,
23

24

25                  . ECF No. 962-10, Bernheim Rep. ¶¶ 39, 265. Notre Dame—and the six
26   other independent FBS schools—
27                                              are instead an example of teams that choose
28   not to participate in any league in the first place. Id. ¶ 265; see also id. ¶ 139 &
                                                       5
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 1   n.377. Moreover, the need for both competing teams in a game to agree to the
 2   relevant telecast licenses is confirmed by the fact that Notre Dame cannot alone
 3   license the telecast rights for all of its games; it instead must negotiate bilateral
 4   deals with opponents—typically through their conferences—that allow it to license
 5   the telecast rights for its home games (and not its away games). See id. ¶ 135; ECF
 6   No. 956-14, Expert Report of Neal H. Pilson, dated April 28, 2023 (“Pilson Rep.”)
 7   ¶ 97.
 8           Given these undisputed facts, Dr. Rascher should not be permitted to testify
 9   about a but-for world that relies on the incorrect legal premise
10

11           C.        Dr. Rascher failed to account for the differences between the NFL
                       and college football when applying his methodology.
12

13           The two versions of Dr. Rascher’s but-for world—
14                                                                                   —each reflect
15   additional flaws that demonstrate that he has not reliably applied a yardstick
16   methodology.
17           First, Dr. Rascher’s
18                                                                                     , ECF No. 962-4,
19   Rep. ¶ 367, Ex. 14; ECF No. 962-5, Reply Rep. ¶ 416, cannot satisfy the
20   requirement that a but-for world must “presume the existence of rational economic
21   behavior in the hypothetical free market.” Dolphin Tours, Inc. v. Pacifico Creative
22   Serv., Inc., 773 F.2d 1506, 1511 (9th Cir. 1985); see also, e.g., In re HIV Antitrust
23   Litig., 656 F. Supp. 3d 963, 1006 (N.D. Cal. 2023).
24           Plaintiffs’ experts have conceded that in the but-for world, the NFL and its
25   Clubs would not only be                 to enter into the SBA-protected agreements
26   with CBS and FOX, but would have                                   to do so. ECF No. 962-29,
27   Expert Rebuttal Report of Einer Elhauge, dated June 9, 2023 (“Elhauge Rebuttal
28   Rep.”) ¶ 55; ECF No. 962-5, Reply Rep. ¶ 430 (“
                                                   6
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  1                                                                                ; accord Pastan
  2   Decl. Ex. 4, Rascher 6/28/23 Dep. Tr. 84:16–85:2, 182:11–12 (“
  3                                                                        ). Because Plaintiffs’
  4   experts agree that the NFL would have                                               to enter into
  5   SBA-protected agreements in the but-for world, the Court should exercise its
  6   gatekeeping responsibility under Rule 702 to prevent Dr. Rascher from arguing
  7   otherwise to the jury. See, e.g., United Food & Com. Workers Loc. 1776 &
  8   Participating Emps. Health & Welfare Fund v. Teikoku Pharma USA, 296 F. Supp.
  9   3d 1142, 1179 (N.D. Cal. 2017).
 10            Second, assuming—as Plaintiffs’ experts concede—that the NFL would enter
 11   into the SBA-protected agreements in the but-for world, Dr. Rascher has not
 12   identified any appropriate yardstick for what would happen in such a but-for world.
 13   Both parties’ experts agree (i) that the SBA’s protections would affect the NFL’s
 14   licensing practices in the but-for world, and (ii) that the SBA cannot similarly affect
 15   college football’s licensing practices in the real world (because the SBA does not
 16   apply to college football). Once this distinction is conceded, Dr. Rascher himself
 17   recognizes that the burden then falls on him to “control[] for” this difference
 18   between the two markets. ECF No. 962-4, Rep. ¶ 306. He has not even attempted to
 19   do so.
 20   II.      Dr. Rascher’s Opinions Regarding Damages Are Not Reliable.
 21            Dr. Rascher’s damages calculations should separately be excluded because
 22   he continues to offer the type of “grade-school arithmetic,” unsupported by reliable
 23   economic analysis, that courts have rejected at the merits stage. See Waymo LLC v.
 24   Uber Techs., Inc., 2017 WL 6887043, at *5 (N.D. Cal. Nov. 14, 2017); see also
 25   Lithium Ion, 2017 WL 1391491, at *6.
 26

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  1

  2                                                          This is not the stuff of admissible
  3   expert testimony. See Waymo, 2017 WL 6887043, at *5 (striking expert who
  4   “simply multipl[ied] the units of time espoused by [another expert] with dollar
  5   amounts lifted” from a separate slide); id. (“Straightforward application of grade-
  6   school arithmetic to uncomplicated numbers is well within the ken of the average
  7   juror.”). To the contrary, the underlying purpose of Rule 702 is to prevent such
  8   improper efforts to influence the jury by dazzling them with the testimony of a
  9   purported “expert” whose “only contribution would be to pile on a misleading
 10   facade of expertise.” Id.
 11           Dr. Rascher’s opinions also fail Rule 702 by simply parroting numbers
 12   generated by another expert, without testing the underlying assumptions or even
 13   analyzing whether the purported model is designed to apply to the relevant but-for
 14   world. In fact, Dr. Rascher admitted he neither questioned the assumptions
 15   underlying Dr. Zona’s analyses nor independently verified Dr. Zona’s regressions.
 16   Pastan Decl. Ex. 5, Rascher 10/3/22 Dep. Tr. 44:7–10, 45:19–47:5; see Fosmire v.
 17   Progressive Max Ins. Co., 277 F.R.D. 625, 629 (W.D. Wash. 2011) (excluding
 18   damages model when expert relied on another expert’s opinion without testing the
 19   “underlying data to ensure its reliability”); Waymo, 2017 WL 6887043, at *5
 20   (striking expert who “essentially parroted” another expert).
 21           For example, Dr. Rascher relied on Dr. Zona’s model to calculate damages in
 22   a but-for world in which
 23                                       , but Dr. Zona testified that he did not know
 24   whether his model was even appropriate for that scenario. Pastan Decl. Ex. 8, Zona
 25   6/23/23 Dep. Tr. 288:15–289:17. Indeed, Dr. Rascher took no steps to ensure the
 26   reliability of Dr. Zona’s
 27

 28                                                     , ECF No. 962-4, Rep. ¶¶ 415–18; ECF
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  1   No. 962-5, Reply Rep. ¶ 441, even though Dr. Rascher cannot contest that
  2   continuing this licensing structure would be against the NFL’s economic interests,
  3   see ECF No. 962-5, Reply Rep. ¶ 441; Pastan Decl. Ex. 7, Expert Report of Ali
  4   Yurukoglu, dated April 28, 2023 (“Yurukoglu Rep.”) ¶¶ 35–42; ECF No. 962-10,
  5   Bernheim Rep. ¶¶ 326–30.
  6           Dr. Rascher’s use of basic mathematics without undertaking the necessary
  7   analysis to determine whether his calculations reflect a reliable application of any
  8   economic methodology to the facts of this case warrant exclusion of his damages
  9   figures.
 10   III.    Dr. Rascher’s Opinions On The Commercial Class Are Not Reliable.
 11           Consistent with Plaintiffs’ decision to seek certification of two separate
 12   classes, Dr. Rascher agrees that there are key distinctions between residential and
 13   commercial subscribers. Pastan Decl. Ex. 4, Rascher 6/28/23 Dep. Tr. 247:13–
 14   248:8. But Dr. Rascher
 15

 16                                                                                      ECF No. 962-4,
 17   Rep. ¶ 150. That conclusory assertion is not correct, and renders Dr. Rascher’s
 18   opinions about the commercial class unreliable.
 19           Dr. Rascher fails to account for the critical differences as to both the supply
 20   and demand of NFL Sunday Ticket as sold to commercial establishments. On the
 21   supply side,
 22                                       and have not been analyzed by Dr. Rascher or
 23   Plaintiffs’ other experts. Pastan Decl. Ex. 7, Yurukoglu Rep. ¶ 98. And on the
 24   demand side, the
 25                                                          . Id. ¶¶ 97–98. Commercial
 26   establishments such as bars, for example, purchase Sunday Ticket not because the
 27   proprietors are interested in watching the games, but instead because they want to
 28   attract more customers and earn more revenue. Id.; Pastan Decl. Ex. 4, Rascher
                                                       9
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  1   6/28/23 Dep. Tr. 247:23–248:4. Thus, while a residential subscriber might be
  2   interested in obtaining a subset of the out-of-market games, commercial subscribers
  3   are more likely to want the option to show every single game in every window.
  4   Pastan Decl. Ex. 5, Rascher 10/3/22 Dep. Tr. 70:5–15.
  5

  6                . Id. at 69:3–20.
  7           Dr. Rascher nevertheless takes a reduction factor based solely on residential
  8   subscribers and applies it mechanically to compute more than                               in damages
  9   for all types of commercial class members. See ECF No. 962-4, Rep. ¶ 419 & Ex.
 10   19. That approach falls well short of Plaintiffs’ burden to demonstrate the reliability
 11   of Dr. Rascher’s analysis, and warrants the exclusion of Dr. Rascher’s commercial
 12   class damages calculations.
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  1   January 5, 2024                    Respectfully submitted,

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      Case No. 2:15-ml-02668-PSG (SKx)   NFL Defendants’ Motion In Limine No. 5 To Exclude Certain Opinions Of
                                         Daniel A. Rascher
